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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
ROBERT L. MCAFEE,
                                             Plaintiff,

                          -against-

STEVENS TRANSPORT and DAVID
B. DURAN,

                                             Defendants.
---------------------------------------------------------------X

                             INDEX TO STATE COURT DOCUMENTS


A.      Summons and complaint

B.      Answer of Stevens Transport, Inc.

Dated: New York, New York
       February 10, 2022



                                                     Charles D. Cole, Jr.
                                                     Newman Myers Kreines Harris, P.C.
                                                     Attorneys for Defendants Stevens Transport, Inc.
                                                       and David B. Duran
                                                     40 Wall Street
                                                     New York, New York 10005-1335
                                                     (212) 619-4350
                                                     dcole@newmanmyers.com
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                      EXHIBIT A
FILED: LIVINGSTON COUNTY CLERK 11/16/2021 09:44 AM                                                            INDEX NO. 000897-2021
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                                                        Andrea K. Bailey, Acting County Clerk
                                                          Livingston County Government Center
                                                                6 Court Street, Room 201
                                                                Geneseo, New York 14454
                                                         (585) 243-7010 ~ Fax (585) 243-7928




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   Document Type: CIVIL ACTION - MISC                                     Document Desc: SUMMONS + COMPLAINT

   Plaintiff                                                              Defendant

   MCAFEE ROBERT L.                                                       STEVENS TRANSPORT
                                                                          DURAN DAVID B.



   Recorded Information:
                                                                               State of New York
   Index #: 000897-2021                                                        County of Livingston

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                       EXHIBIT B
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                                                        Andrea K. Bailey, Acting County Clerk
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   Document Type: CIVIL ACTION - MISC                                     Document Desc: ANSWER

   Plaintiff                                                              Defendant

   MCAFEE ROBERT L.                                                       STEVENS TRANSPORT
                                                                          DURAN DAVID B.



   Recorded Information:

   Index #: 000897-2021




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF LIVINGSTON
         --------------------------------------------------------------------X
         ROBERT L. MCAFEE
                                                      Plaintiff,

                                   -against-                                     Index No. 000897-2021

         STEVENS TRANSPORT and DAVID
         B. DURAN,

                                                      Defendants.
         --------------------------------------------------------------------X

                                    ANSWER OF STEVENS TRANSPORT, INC.

                          Defendant Stevens Transport, Inc. by its attorneys, Newman Myers Kreines

         Harris, P.C., answering the complaint, alleges, as follows:

                                                            ANSWER

                          1.       Denies knowledge or information sufficient to form a belief as to the

         allegations in paragraph 1.

                          2.       Denies the allegations in paragraph 2, except admits that Stevens

         Transport, Inc. is a business existing under the laws of the State of Texas with its principal

         office located at 9757 Military Parkway, Dallas, Texas 75227.

                          3.       Denies the allegations in paragraph 3.

                          4.       Denies the allegations in paragraph 4.

                          5.       Denies the allegations in paragraph 5, except admits that this court has

         personal jurisdiction over defendant Stevens Transport, Inc.

                          6.       Admits the allegations in paragraph 6.




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                       7.      Denies knowledge or information sufficient to form a belief as to the

         allegations in paragraph 7.

                       8.      Admits the allegations in paragraph 8.

                       9.      Admits the allegations in paragraph 9.

                       10.     Denies the allegations in paragraph 10.

                       11.     Admits the allegations in paragraph 11.

                       12.     Denies the allegations in paragraph 12.

                       13.     Denies knowledge or information sufficient to form a belief as to the

         allegations in paragraph 13.

                       14.     Denies knowledge or information sufficient to form a belief as to the

         allegations in paragraph 14.

                       15.     Denies knowledge or information sufficient to form a belief as to the

         allegations in paragraph 15.

                       16.     Denies the allegations in paragraph 16.

                       17.     Denies the allegations in paragraph 17.

                       18.     Denies the allegations in paragraph 18.

                       19.     Denies the allegations in paragraph 19.

                       20.     Admits the allegations in paragraph 20.

                       21.     Denies the allegations in paragraph 21.




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                                                   DEFENSES

                                                FIRST DEFENSE

                        22.    The plaintiff’s action is barred by Insurance Law sections 5102 and 5104

         because Robert L. McAfee and the defendant are covered persons and Insurance Law 5104

         states that, in any action by or on behalf of a covered person for personal injuries arising out of

         negligence in the use of operation of a motor vehicle, there shall be no right to recovery for

         noneconomic loss except in the case of serious injury or economic loss greater than basic

         economic loss as defined in the Insurance Law, and Robert L. McAfee has not exceeded that

         threshold.

                                     SECOND AFFIRMATIVE DEFENSE

                        23.    If the injuries and damages were sustained by Robert L. McAfee at the

         time and place and in the manner alleged in the complaint, such damages and injuries are

         attributable, in whole or in part, to the culpable conduct of Robert L. McAfee; and if any

         damages are recoverable against Stevens Transport, Inc., the amount of such damages should

         be diminished in the proportion that the culpable conduct attributable to Robert L. McAfee

         bears to the culpable conduct that caused the damages.

                                      THIRD AFFIRMATIVE DEFENSE

                        24.    In the event of any judgment or verdict on behalf of the plaintiff, Stevens

         Transport, Inc. is entitled to a set-off of the verdict for the amount of any payment made to the

         plaintiff for medical and other expenses under section 4545 of the Civil Practice Law and

         Rules.




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                                              FOURTH DEFENSE

                        25.    If Robert L. McAfee suffered any injury or incurred any loss, it was

         caused in whole or in part by the acts or omissions of persons other than Stevens Transport,

         Inc. and over which Stevens Transport, Inc. had no control or by preceding, superseding, or

         intervening causes over which Stevens Transport, Inc. had no control.

                                               FIFTH DEFENSE

                        26.    If there is any negligence or liability, it is the sole and exclusive

         negligence or liability of other persons and not of Stevens Transport, Inc.

                                               SIXTH DEFENSE

                        27.    In the event of a finding of any liability in favor of the plaintiffs, Stevens

         Transport, Inc. should be held liable, if at all (which is denied) only for the proportion of

         damages sustained by Robert L. McAfee that is determined by the jury to be the result of the

         allocable percentage of fault on the part of Stevens Transport, Inc.; it should not and cannot be

         held jointly liable to the plaintiffs for the negligence or fault of others because such joint

         liability would violate constitutional principles, statutes, and common-law rules.

                                                 CONCLUSION

                        Wherefore, Stevens Transport, Inc. demands judgment against Robert L.

         McAfee dismissing the complaint, together with interest, costs, and attorney’s fees.

         Dated: New York, New York
                December 22, 2021



                                                      Charles D. Cole, Jr.
                                                      Newman Myers Kreines Harris, P.C.
                                                      Attorneys for Defendant Stevens Transport, Inc.




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                                          CERTIFICATE OF SERVICE

                        I certify that on December 22, 2021 the answer of Stevens Transport, Inc. was

         served on the attorney for the plaintiff,

                                Richard P. Amico, Esq.
                                The Barnes Firm, P.C.
                                Attorneys for Plaintiff Robert L. McAfee
                                Suite 600
                                28 East Main Street
                                Rochester, New York 14614

         by filing it using NYSCEF.

         Dated: New York, New York
                December 22, 2021



                                               Charles D. Cole, Jr.
                                               Newman Myers Kreines Harris, P.C.
                                               Attorneys for Defendant Stevens Transport, Inc.




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